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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

SHENZHEN DONGHONGZE TRADING CO.,
LTD., et al.
                                                    Plaintiff,
v.                                                               Case No.: 1:23−cv−14922
                                                                 Honorable John Robert
                                                                 Blakey
XEBEC, INC.
                                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 12, 2024:


        MINUTE entry before the Honorable John Robert Blakey: The Court grants
Plaintiffs' motion to extend time [25], strikes the 2/21/24 Notice of Motion date, and also
adopts the parties' proposed case management plan, see [24]. The Court sets initial case
management dates as follows: Plaintiffs shall respond to the counterclaim by 2/26/24, and
the parties shall exchange Rule 26(a)(1) and LPR 2.0 disclosures by 3/11/24 and,
thereafter, follow the schedule set in the Local Patent Rules. The parties shall amend their
pleadings (to add claims, parties, etc.) by 9/3/24 and file an updated status report by
9/13/24 concerning their discovery and settlement efforts here, as well as in the Texas
matter. The Court encourages the parties to continue their settlement efforts and, if at any
time they agree that a settlement conference with the assigned Magistrate Judge could be
productive, they should call chambers to so advise. Mailed notice(gel, )




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